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 5
     Attorney for Defendant
 6   GARRET G. GILILLAND III
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     )
                                                   )       Case No. Cr. S-08-376 EJG
11                          Plaintiff,             )
                                                   )       STIPULATION AND
12                                                 )       ORDER CONTINUING HEARING RE:
                    v.                             )       POTENTIAL ATTORNEY CONFLICT
13                                                 )
     GARRET G. GILILLAND III,                      )       Date: December 10, 2010
14   NICOLE MAGPUSAO,                              )       Time: 10:00 a.m.
                                                   )       Judge: Honorable Edward J. Garcia.
15                          Defendants.            )
                                                   )
16                                                 )
     UNITED STATES OF AMERICA,                     )       Case No. Cr. S-10-200 EJG
17                                                 )
                            Plaintiff,             )       STIPULATION AND [PROPOSED]
18                                                 )       ORDER CONTINUING HEARING RE:
                    v.                             )       POTENTIAL ATTORNEY CONFLICT
19                                                 )
     ANTHONY G. SYMMES,                            )       Date: December 10, 2010
20                                                 )       Time: 10:00 a.m.
                            Defendant.             )       Judge: Honorable Edward J. Garcia
21                                                 )
22          The United States of America, by and through Assistant United States Attorney Russell L.
23   Carlberg, and defendant Garret G. Gililland III, by and through counsel Scott L. Tedmon; defendant
24   Nicole Magpusao, by and through counsel Krista Hart; and defendant Anthony G. Symmes, by and
25   through counsel Christopher H. Wing, hereby stipulate that the hearing regarding a potential attorney
26   conflict set for Friday, December 10, 2010 at 10:00 a.m., be continued to Friday, December 17, 2010
27   at 2:00 p.m. before United States District Judge Edward J. Garcia. Assistant United States Attorney
28   Russell L. Carlberg is unavailable on December 10, 2010 due to a family-related matter and all

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 1   parties are agreeable to this continuance. Deputy Courtroom Clerk Colleen Lydon has confirmed
 2   the requested hearing date of December 17, 2010 at 2:00 p.m. is available. Scott L. Tedmon has
 3   been authorized by the government and all defense counsel to sign this stipulation on their behalf.
 4   IT IS SO STIPULATED.
 5   DATED: December 8, 2010                      BENJAMIN B. WAGNER
                                                  United States Attorney
 6
                                                  /s/ Russell L. Carlberg
 7                                                RUSSELL L. CARLBERG
                                                  Assistant U.S. Attorney
 8
     DATED: December 8, 2010                      LAW OFFICES OF SCOTT L. TEDMON
 9
                                                  /s/ Scott L. Tedmon
10                                                SCOTT L. TEDMON
                                                  Attorney for Defendant Garret Gililland III
11
     DATED: December 8, 2010                      LAW OFFICES OF KRISTA HART
12
                                                  /s/ Krista Hart
13                                                KRISTA HART
                                                  Attorney for Defendant Nicole Magpusao
14
     DATED: December 8, 2010                      LAW OFFICES OF CHRISTOPHER H. WING
15
                                                  /s/ Christopher H. Wing
16                                                CHRISTOPHER H. WING
                                                  Attorney for Defendant Anthony G. Symmes
17
18
19
                                                 ORDER
20
            GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
21
     ORDERED that the hearing regarding a potential attorney conflict now scheduled for Friday,
22
     December 10, 2010 at 10:00 a.m., is hereby continued to Friday, December 17, 2010 at 2:00 p.m.,
23
     before the Honorable Edward J. Garcia.
24
            IT IS SO ORDERED.
25
26
     DATED: December 9 , 2010                    /s/ Edward J. Garcia
27                                               EDWARD J. GARCIA
                                                 United States District Judge
28

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